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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         Case No. 8:04CR332
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                 ORDER
                                            )
LORA KEMPTAR,                               )
                                            )
                    Defendant.              )


      This matter comes on to consider the government’s motion for Rule 35(b) hearing.
Filing No. 48. Having considered the matter,
      IT IS ORDERED that:
      1.   A hearing on the government’s motion pursuant to Rule 35(b) has been
scheduled before the undersigned United States district judge on February 3, 2006, at
8:30 a.m. in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska;
      2. Defense counsel is reappointed to represent the defendant at this hearing;
      3. At the request of the defendant through her counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion;
      4. The Marshal is directed not to return the defendant to the district; and
      5. The defendant is held to have waived her right to be present for this hearing.
      DATED this 20th day of January, 2006.

                                            BY THE COURT:



                                            s/Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
